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                                                                                   Sep 14, 2021
                          U N ITE D STA TES DISTR IC T C O UR T
                          SO U TH ER N D ISTR IC T O F FLO R ID A
                     21-20472-CR-ALTMAN/REID
                        CA SE N O .
                                     18U.S.C.j1343
                                     18 U .S..C.j981(a)(1)(C)


 U M TED STATE S O F A M ER ICA

 V.

 M M O N CA R ID A D R O DR IG U EZ,

                D efendant.
                                          /

                                       IO ICTG N T

        TheGrand Jury chargesthat:


                               GENERAI,ALLEGATIONS

        Ata11timesrelevanttothisindictinent:

               Company 1 operated an afterschoolprogram for im m igrant cilildren located in

 M iam i Florida.

        2.     DefendantR AM oN CARIDAD RODRIG UEZ,aresidentofM iam i,Flodda,was

 an employeèofCompany 1.

        3.     TD Bnnk,N .A.,isabnnking com pany headquartered in Cheny H ill,N ew Jersey.

        4.     PaypalInc.isacom pany headquarteredin San Jose,Califonzia.

               Square Inc.isa company headquartered in San Francisco,California.
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                                        C O UN TS 1-9
                                         W ire Fraud
                                     (18U.S.C.j1343)
       1.      Paragraphs 1 through 5 ofthe GeneralAllegations section oftMs Indictm entare

realleged and incorporated by referenceasthough fully setforth herein.

       2.      From in orarotmd January 2017,and conthming tlzrough in oraround June 2018,

in M iam i-Dade Cotmty,in theSouthem DistrictofFlorida,and elsewhere,the defendant,

                            RA M ON CA RID AD R O D R IG U EZ,

did knowingly,and with the intentto deâaud,devise,and intend to devise,a schem eand artifce

to degaud, and to obtain money and property by means of matedally false and fraudulent

pretenses, represenutions, and prom ises, lm owing that the pretenses, representations, and

prom iseswerefalseand gaudulentwhen m ade,and,forthepurposeofexecuting such schemeand

artifce,didknow ingly transm itand causeto betransmitted,by m ennsofwirecom munication in

interstateand foreign comm erce,certainwrhings,signs,signals,pictm es,and sounds,inviolation

ofTitle 18,United StatesCode,Section 1343.

                      PU R PO SE O F TH E SC IV M E A N D A RT IFICE

       3.      lt was the purpose of the scheme and artifce for M M ON CARIDAD

RODRIGIJEZ to tm lawfully emich himself by m nking unauthorized purchmses and paym ent

transfers using a TD Bank cop orate credit card belonging to Company 1, concealing those

expendittlresfrom Company 1,and thereafterusing the illicitly obtained proceedsforllisown use

and benefit.

                                SC H EM E A N D M W IFICE

       The m annerand m eans by which the defendantsoughtto accomplish the purpose ofthe


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 scheme and artificeincluded,nm ong otherthings,thefollowing:

        4.     RAM ON CARIDAD RODRIG UEZ used Company 1's TD Bank credit card

 ending in 5543tomaketm authorizedpaymentsto Paypaland SquareaccountsthatRODRIGUEZ

 controlled.

        5.     RODRIG UEZ transferred thefundsobtained through theunauthorized paym ents

 hem adeintothePaypalànd Squareaccountshecontrolledintollispersonalbnnk accountatW ells

 Fargo ending in 4731.

               RODRIGUEZ used Com pany 1'sTD Bank creditcard ending in 5543 to m ake

 lmauthorized ptlrchasesatretailstoresand orllineretailersforllisown useand gain.

               RO DRIGUEZ made false and fraudulentinvoices âom TD bnnk statem entsthat

 he altered and'submitted to Company 1 tojustify and concealhistmauthorized paymentsand
 pm chasesusing Com pany 1'sTD B ank creditcard ending in 5543.

        8.     As a resultoftllis schem e and artifice,RODRIGUEZ falsely and fraudulently

 received fllndsthrough interstate wire and otherm ethodsand used theflm dsforhispersonaluse

 and benefit,and fortheuseandbenefitofothers.

                                   U SE OF TH E W IR ES

        9.     Onoraboutthedatesspecifedastoeach cotmtbelow,in V iami-DadeCotmty,in
 the Southern DistrictofFlodda,and elsewhere,thedefendant,R ODRIGUEZ,forthepurposeof

 executing andin furtheranceoftheaforesid schem e and artificetodegaud,and to obtain m oney

 andproperty by meansofm aterially falseandfraudulentpretenses,representations,andpromises,

 knowingthatthe pretenses,representations,and promisesw ere false and âaudulentwhen m ade,

 did knowingly transm itand cause to be transmitted in interstate comm erce,by m eans.ofwire
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 com munication,certain writings,signs,signals,pictures,and solm ds,asdescribed below:
              1.    '    '               .                                                        .
               I                                      '
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                                                              ,

 Couht   hç
                   A pproxim ate D ate        ,
                                              N
                                                                  Description ùfW ire             ,,
                                             A paym entin the approxim atenm otmtof$700 from
                                             Paypalaccountto aW ellsFargobnnk accotmtending
                    M arch 10,2017           in 4731, causing a w ire transm ission 9om outside the
                                             state ofFloridatothe Southem DistdctofFlorida.
                                             A paym entin the approxim ateamotmtof$1,900 9om
                                             aPaypalaccotmtto a W ellsFargo bnnk accotmt
                    M arch 29,2017           ending in 4731,causing awiretransm ission f'
                                                                                        rom
                                             outsidethestateofFloridato the Southem Disttictof
                                             Florida.
                                             A purchase in the approximatenm otmtof$2,040 at '
                                             the Hom e D epotusing the TD Bnnk card ending in
                        June 12,2017         5543 causing awiretransm ission f'
                                                                              rom insidethe
                                             Southem DistrictofFloddato outsidethestate of
                                             Florida.     .

                                             A paym entin theapproxim ate nm otmtof$4,590 âom
                                             aPaypalaccotmtto a W ellsFargo bnnk account
   4                 Jtme 22,2017            ending in 4731,causing awiretransm ission f'
                                                                                        rom
                                             outsidethestateofFloddatothe Southern Districtof
                                             Florida.                         .
                                             A paym entin theapproximate nmotmtof$1,369 from
                                             aPaypalaccotmtto a W ellsFargo bnnk account
   5               December29,2017           ending in 4731,causing awiretransm ission 9om
                                             outsidethestateofFloridatothe Southern Distdctof
                                -
                                             Florida.                   .
                                             A paym entin theapproxim ate nmountof$1,485 f'
                                                                                          rom
                                             a Squareaccountto aW ellsFargo bnnk accotmt
   6                M arch 15,2018           ending in 4731,causing awiretransm ission âom
                                             outsidethestateofFloridatothe Southern Distzictof
                                             Florida.
                                             A paym entin theapproximate nmotmtof$1,556 âom
                                             aSquareaccotmttoaWellsFargobnnkaccotmt
   7                    M ay 9,2018          endlng in 4731,causing awiretransm ission âom
                                             outsidethestateofFloddato the Southem Districtof
                                             Florida.
                                             A pm chaseirlthe approxim atenm otmtof$697 using
                                             theTD Bnnk card ending in 5543 atW ahnart,causing
   8                    M ay 24,2018         a w ire transrnission âom inside the Southem D istrict
                                             ofFlorida to outside the state ofFlorida.


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'Coim t '     ApproximateD@té         . .      .è          Dksci-iptioh ot'
                                                                         .W il-e
                                                                             .


                                            A paym entin theapproxim ate nm ountof$1,246from
                                            aSquare accountto a W ellsFargo bnnk accotmt
   9             Jtme28,2018                ending in 4731',causing awiretransm ission 9om
                                            outsidethestateofFloridato theSouthern Districtof
                                            Florida.                    '


                              FORFEITURE ALLEGATIONS

        1.     TheallegationsofthisIndictm entazehereby re-alleged and by tlzisreferencefully

 incop or
        /
          atedherein forthepurposeofalleging forfeituretotheUzlited StatesofAm ericaofcertain
        ,


property in which thedefendant,RAM ON CARIDAD RODRIGUEZ,hasan interest.

               Upon conviction ofa violation ofTitle 18,United StatesCode,Section 1343,as

 alleged in this Indictm ent,the defendant shallforfeitto the United States qny property,reylor
personal,which constitutesorisdezived9om proceedstraceableto such offense,ptlrsuanttoTitle

 18,UnitedStatesCode,Section 981(a)(1)(C).
        3.     Thepropertysubjecttoforfeitmeasaresultoftheallegedoffensesincludes,butis
notlimited to,allftmdsheld,orform ally held,on depositby TD Bnnk in accotmtnllmberending

 in 5543held in thennme ofCompany 1.
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             Al1pursuanttoTitle18,United StatesCode,Section 981(a)(1)(C)andtheproceduresset
       forthin Title21,United StatesCode,Section 853,asincorporated byTitle28,United StatesCode,

       Section2461(c).
                                                             A TRIJE BILL




                                                             FOREPERSON


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                                            UM TED STATESD ISTRICT Co UIW
                                            SOUTHERNDISTRICT OFFLORIDA

 X TED STATESOFW              W CA                      CASE NO.

                                                        CER TW ICATE OF TR TAT,ATTORN EYY
  RAM ON CARIDAD RODRIGUEZ,                             Superseding CaseInform ation:
               Defendant.                    /
   courtDivision:tsëlectOne)                            Newdefendantts) V Yes V No
   I
   Z Miami N keyWest N FTL                              Numberofnewdefendants
   N WPB N FTP                                          Totalnumberofcotmts
       1.1havecarefully considered theallegationsoftheindictment,thenumberofdefendants,thenllm berofproh ble
         witnessesand thelègalcom plexitiesoftheIndictm ent/lnformationattachedhereto.
       2.Iam awarethattheinform ation suppliedon thisstatem entwillberelied upon by theJudgesofthisCoul'tin
         settingtheircalendarsandscheduling crim inaltrialsunderthemandateoftheSpeedyTrialAct,
         Title28U .S.C.Section 3161.
        3.Interpreter:(YesorNo) No
          Listlanguageand/ordialect                .
        4.'
          Fhiscase willtake 5 daysforthepartiestotry.
        5.Ple% echeck appropriatecategory andtypeofoffenselistedbelow :
             (Checkonlyone)                            (Checkonlyone)
         1 0to5days              I7
                                  d                  Petty              C1
         11 6to10days            (71                 Minor              E1
         III 11to20days          I-I                 Misdemeanor        EEI
         IV 21to60days           (7l                 Felony             EdE
         V 61daysandover         (71
        6.HasthiscasepreviouylybeenfiledintMsDistrictCotu't? (YesorNo) No
           Ifyes:Judge                                  CaseN o.   '
           (Attachcopyofdispositiveorder)
           Hasacomplaintbeenfiledinthismatter? (YesorNo) No
           Ifyes:M agistrateCase N o.
           Relatedm iscellaneousnumbers:
           Defendantts)infederalcustodyasof
           Defendantts)instatecustody asof
           Rule20 from theDistrictof
           lsthisapotentialdeathpenaltycase?(YesorNo) No
           Doesthiscase originatefrom am atterpendingin theCentralRegion oftheU .S.Attorney'sOfficepriorto
          August9,2013(Mag.JudgeAlicia0.Valle)?(YesorNo) No
        8.Doestiliscmseoriginatefrom amatterpendingintheNorthernltegionoftheU.S.Attorney'sOfficepriorto
          August8,2014(M ag.JudgeShaniekMaynard?(YesorNo) No
        9. Doesthiscase originatefrom am atterpending intheCentralRegion oftheU .S.Attorney'
                                                                                           sOfficepriorto
           October3,2019(M ag.JudgeJaredStrauss)?(YesorNo) No


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                                                                       Yara odin
                                                                       AssistantUnited StatesAttorney
                                                                       FLA BarNo.         0124979
*penaltySheetts)attachd                                                                                 REV 3/19/21
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                          SO U TH ERN D ISTR IC T O F FLO R ID A

                                     PEN M TY SH EET

 Defendant'sName:M M ON CAZ DAD RODRIGUEZ
 C ase N o:

 Counts#:1-9

   W ire Fraud

   18U.S.C.j1343
 *M ax.Penalty:       20years'im prisonm ent                                     .




  kR efers only to possible term ofincarceration, doesnoti'nclude possible nnes,restitution,
           specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
